      Case 1-18-40766-cec             Doc 233       Filed 02/19/20     Entered 02/19/20 15:12:41




Gordon & Haffner, LLP                                    PRESENTMENT DATE: February 26, 2020
Special Counsel to Post-Confirmation Debtor              PRESENTMENT TIME: 1:00 p.m.
480 Mamaroneck Avenue
Harrison, New York 10528
(718) 631-5678
Steven R. Haffner
UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------x
In re:                                                        Chapter 11

EARL RASHEED DAVIS,                                           Case No. 18-40766 (CEC)

                                    Debtor.
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                             NOTICE OF PRESENTMENT OF ORDER

        PLEASE TAKE NOTICE that, pursuant to Local Bankruptcy Rule 9072-1 and the

hearing in the matter held February 5, 2020, the within Order Retroactively Lifting the Stay as

applied to that certain state court action entitled: Lakisha Hawthorne v. Brown, et al., (the “Order”),

will be presented for signature to the Honorable Carla E. Craig, Chief United States Bankruptcy

Judge, at the United States Bankruptcy Court, 271 Cadman Plaza East, Brooklyn, New York

11201, on February 26, 2020, at 1:00 p.m.

        PLEASE TAKE FURTHER NOTICE that counter-proposals, if any, to the Order must

be made in writing, filed with the Clerk of the Court, with a copy delivered to Bankruptcy Judge

Craig’s Chambers, and served upon: (i) Gordon & Haffner, LLP, 480 Mamaroneck Avenue,

Harrison, New York 10528 Attn.: Steven R. Haffner; (ii) Forchelli Deegan Terrana LLP, 333 Earle

Ovington Boulevard, Suite 1010, Uniondale, New York 11553 Attn: Gerard R. Luckman; and (iii)

the Office of the United States Trustee, U.S. Federal Office Building, 201 Varick Street, New

York, New York 10014, Attn: Nazar Khodorovsky, in accordance with the applicable Federal

Rules of Bankruptcy Procedure and the Local Rules of this Court.



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       Unless any counterproposals are timely filed and served, the Order may be signed.

Dated: February 18, 2020

                                           Respectfully submitted,

                                           GORDON & HAFFNER, LLP
                                           Special Counsel to Post-Confirmation Debtor

                                           By: /s/ Steven R. Haffner________
                                                   Steven R. Haffner
                                                   480 Mamaroneck Avenue
                                                   Harrison, New York 10528
                                                   (718) 631-5678
                                                   (haffner.steven@gmail.com)




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